                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 24817501
Notice of Service of Process                                                                            Date Processed: 04/25/2022

Primary Contact:           Sharon Brooks - MS 08-A
                           The Travelers Companies, Inc.
                           One Tower Square
                           Rm 8MS
                           Hartford, CT 06183-0001

Entity:                                       Northfield Insurance Company
                                              Entity ID Number 2319164
Entity Served:                                Northfield Ins. Co.
Title of Action:                              Cox Paradise LLC vs. Northfield Tnsurance Company
Matter Name/ID:                               Cox Paradise LLC vs. Northfield Tnsurance Company (12221652)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Lauderdale County Circuit Court, TN
Case/Reference No:                            7231
Jurisdiction Served:                          Tennessee
Date Served on CSC:                           04/20/2022
Answer or Appearance Due:                     30 Days
Originally Served On:                         TN Dept of Insurance on 04/06/2022
How Served:                                   Certified Mail
Sender Information:                           Gammill Law Group, PLLC
                                              601-487-2300

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                                             A
 ` F g Department of
 ~        Commerce &
        ,.Insurance




April 12, 2022




Northfield Ins. Co.:                                              Certified Mail
2908 Poston Ave C/O C S C                                         Return Receipt Requested
Nashville, TN 37203                                               7020 1290 0001 6217 7559
NAIC # 27987                                                      Cashier # 221277

Re:    Cox Paradise Llc V. Northfield Ins. Co.
       Docket # 7231


To Whom It May ConcerrY

Pursuant to Tennessee Code Annotated §56-2-504 or § 56-2-506, the Department of
Commerce and Insurance was served Apri106, 2022, on your behalf in connection with the
above-styled proceeding. Documentation relating to the subject is herein enclosed.

Designated Agent
Service of Process

Enclosures

cc: Circu,it Coart Clerk
    Lauderdale County
    675 Hwy 51 South
    Ripley, Tn 38063




                     State of Tennessee, Department of Commerce & Insurance
          500 James Robertson Parkway, Service of Process - 10th Floor, Nashville, TN 37243
                               Service.ProcessOtn.gov; 615-532-5260
 ~
                u~             a       County
                                                          S'TATE OF TENNESSEE                                                             Case Number
                                                             CIVIL SUMIVIONS
                                                                                    a elof1
                                           ~
                               CN at                                  Vs.                                 .

     S       ed On: ~
                mi551onerbf'                   SD0 7mes~ioGeri~so~ l°Kl~~                      J~jas~u~lle 711
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             =hWance-
  You are hereby summoned to defend a civil action filed against you in 'Z~x CC1.( ,A                 Court, 1—~,
  Your. defense must be made within thirty (30) days froin the, date this summons is'seived upon you.                               ~f Gunty, Tennessee.
                                                                                                           You are directed to file your defense with the
  clerk of the court and send a copy to the plaintifl's attomey at the address listed below. If you fail
                                                                                                         to defend this action by the below date„judgment
  by default may be rendered against you for the relief sought in the complaint.
                                       i
  Issued:
                                                                                           Clerk    .~
         ,       ,                  00 • uu       ~• ~         -
                                    ~R~ ., a ` •. T -N ..! , .
                                                    NOTICE OF PERSONAL PROPERTY EXEMPTION
 TO TH$ DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10;000) personal property
                                                                                                              exemption as well as a homestead exemption
 from execution or seizure to satisfy a judgtnent. The. amount of the homestead exemption depends
                                                                                                        upon your age and the other factors which are
 listed in TCA § 26-2-301. If a judgment should be entered against you in this action and you wish
                                                                                                        to claim property as exempt, you must file a
 written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The
                                                                                                      list may be filed, at any time and may be changed by
 you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will
                                                                                                     not be efI'ective as to any execution or garnishment
 issued prior to the filing of the list. Certain items are•automatically exempt by law and do not need
                                                                                                         to be listed; these include items of necessary
 wearing apparel (clothing) for your self and your family and tnuiks or other receptacles necessary
                                                                                                      to contain such apparel, family portraits, the family
 Bible, and school books. Should any of these items be seized you would have the riglit to recover
                                                                                                      them. If you do not understand your exemption
 right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state file number
                                                                                                       on list.
 Mail list to                                                           Clerk,                         County

                                                       CERTIFICATION (IF APPLICABLE)
 I,                               1                             Clerk of                                 County do certify this to be a true and correct copy of
 the original summons issued in this case.

 Date:
                                                uierK i Lenury t-ierx
OFFICER'S RETURN: Please execute this summons and make your retum within ninety
                                                                                (90) days of'issuance as                            provided by law.
I certify that I have served this summons together with the complaint as follows:



Date•                                                                            By:
                                                                                       Please Print: Officer, Title

                     Address

RETURN ON SERVICE OFSUMMONS BY MAIL: I hereby certify and return that on
                                                                                                                                           I sent postage
prepaid, by registered return reoeipt mail or certified return receipt mail, a certified copy of the
                                                                                                          summons and a copy of the complaint in the above
styled case, to the defendant                                 On                                   I received'the return receipt, which had been signed by
                               on                        The return receipt is attached to this original summons to be filed by the Court Clerk.

Date:
                                                                           Notary Pub]ic / Deputy Clerk (Comm. Expires                          )
Signature of Plaintiff                                                     Plaintiff's Attomey (or Person Authorized to Serve Process)
                                                                      return receipt on
ADA: Ifyou need assistance or accommodatfons because of a disabflfty, please call
                                                                                                                      ADA Coordfnator, at ()

                                                                                                                                                    Rev. 03111
k'~. _i*Fiµm    :~7a'      . .-.


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                                                                          DISTRICT AT
                           CU IT CO UR T FO R TH E TWENTY-FIFTH[ JUDICIAL
                 IN THE CIR                                  NNESSE
                                    LAUDERDALE COUNTY TE

                                              assignee,
               C0X PARADISE LLC, as
               PLAINTIFF,

                                                                          CAUSE NO:           9A 3 j
                                                                                                              ~ ~- ' r ~
               VS.                                                                 JURY TRIAL DEM 11IDEI
                                                    COIvIPANY                                - ~JQR ~ ~ 2022 ~C
               NORTIIFIELD INSURANCE
               DEFENDANT.                                                                            JO AM,d EDWARpS
                                                                                                 CORCUIT COURT CLEP,K


                                                                                         S
                                                   COMPLAINT 11' OR DAMAGE

                                                                                                                     and upon
                                   Co x Paradi se LL C, by a.rid through its attorney, Toby Gammill,
                        COMES NO W

                                                       e to the Court as follows:
                 information and belief would stat
  a:




                                                  I.       PARTIES TO PROCEEDINGS
                                                                                                               y. At all times
                                 Pla inti ff Co  x  Par   adi se  is a Tennessee limited liability compan
                        1.
                                                                                                                             see,    ;
                                                  es  ("P  rez nis es" ) locate d at 1441 South Church Street, Ha11s Tennes
                 pertinent, the subject premis
                                                                                                                     ber 9, 2020
                                     sed   by Pi_a Lnt: _Ff. Thi s cau  se of act ion was validly assigned on Decem
                 38040 was purcha

                  at the time of purchase.
                                                                                                                           nnesota
                                                                     mpany          is a corporation organized in Mi
                          2.       Defendant Northfield Insurance Co
                                                                                                                 eto, Defendant
                                                       in St. Paul, Mi    nnesota. At all times pertinent her
                  with its principal place of business
                                                                                                                      s of
                                                , sol d   and  wa s  oth  erw ise in the business of offering policie
                   Insurer advertised, marketed
                                                                                                            Insurer can be
                                          e Co unt y citizen s and  citi zen s across Ten.nessee. Defendant
                   insurance to Lauderdal




                                       OR; COPY
                                                                             , Nashville,
                            ioner of Insura nc e at 500 James Robertson Pkwy
                        iss
served through the Comm

Tennessee.
                                                                  AND VENUE
                              II. . JURISDICTION
                                                                                                      At all times
                                   lic en sed  to sel l  Po lic ies of Insurance in Tennessee.
        3.      Insurer is duly
                                                                                             licies of insurance to
                           ad ve rtis ed , ma rke ted , sol d and otherwise offered po
 pertinent hereto, Insurer
                                                                                                               dant.
                                                  Th is  Co  urt ha s pe rso na l jurisdiction over the Defen
                               ty, Tennessee.
 citizens of Lauderdale Coun
                                                                                                           Statutory
                                        ach  of  co ntr act  ari  es
                                                                 s'  un de r Tennessee Common and
         4.      This action for bre
                                                                                                  s Subject Matter
                             to  ex  cee d  $1 ,50 0,0  00 .00 , over which, this Court ha
  Law, in an amount not

  Jurisdiction.
                                                                                                         located in
                                                  , as well as       the bulk of the witnesses are
           5.        The subject Insured Premises
                                                                                                                ed
                                                   ts and circumstances that       gave rise to this suit occurr
   Lauderdale Co     unty. The majority of the fac
                                    e is proper.
   in Lauderdale County. Venu
                                                                                SE
                                     III.      STATEMENT OF THE CA
                                                                                                          d
                                          d a  Po lic y of Ins ura nc e fro m Insurer to cover the Insure
          6.      Policyholders purchase
                                                                                            y number was
                              for ce an d eff ect on   the da te of this event. The polic
    Premises that was in full

    WS280071.
                                                                                                           hange for
                                                   Insured Premises        fxoni damage or Ioss in exc
             7.        Insurer agreed to cover the
                                       .denced by. the Policy.
     valuable consideration as evi
                                                                                        ely        paid, and Insurer
                          aIl tim es pe rtinen t her eto the Policyholder, DLA LLC, tim
                8.     At
                                            form of premiutn payments.
     accepted, consideration in the
                                                                                                      nt deterioration
                                                    ll ma        intained and free from significa
                9.      The Insured Premises was we

      or preexisting damage.
                                                                     .. ._ _~,.
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..    .. .                                           .               •'            ~
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                                                                                                                                included higli
                                                        Jul y  17,   20 20   ; a cer   tain   sevi re yveathei' event; which
                                10. On or about
                                                                                                            mises.
                                      ds and lar ge hai l, seriou  sly dar'naged the lnsured Pre
                       vel oci ty win                           „
                                                                                                                                      C3322:
                                                                  file  d  a  cla im   wi  th  Ins ure r. The claim number was F3
                                 11. Policyholder timeiy
                                                                                                               uster.
                                    .    Wi llia m Gri ffin . pre par  ed an estimate as a public adj
                                 12
                                                                   ibmitted to Insurer:
                                  13. Proof of Loss was s2
                                                                                                                                   ofInsurance,
                                                            ple wc  l. all coA  di•* ..ion s 1rx cW edent, pursuant to the Polic,y
          '                       14.     DLA LLC cbm
                                                                     to pay.
                            that trigger the Insurer's duty
                                                                                                                                      s
                                                                      hai l are  cov ered  per  ils.  Defendant admitted there wa
                                                                 and
                                   15. Dama.ge from wind

                                         age fro m win d but signif eantly undervalued the claim.
                             covered dam
                                                                                                                                   d to
                                                                     pay rnetit fro m Ins we r,  bu  t Insurer has willfully refuse
                                    16. P1a.intiff has demancied
                                                                     Policy of_Insurance.
                             pay Plaintiff pursuant to the
                                                                             OI.        CAUSES OE ACTION

                                                                        I.             LBREACdi O1F CONTBACT

                                                              inc orp or•  ates par agr  apl is 1-1 6 by reference as if verbatim.
                                      17. Plaintiff hereby
                                                                        tion for Ereach of Contract.
                                      18. PlaintiTbrings t.his aGc
                                                                     er  ,the  Ins ure cl Pre mi  ses f.rom damage or loss in exchange for
        ~            ~'•              19.1 Insurer agited :to cov
                                                                                                                                   pe~ils not
                                                          eviiler ace d  by   the  Po  licy  of  Insurance. Wind and hail are
                                valuable considerat:on as

                                                                              urance.
                                excluded under the Policy of Iris
                                                                                                                             r accepted
                                                                                           licyholder timely paid and Insure
                                           20.           At all times pertinent hereto .Po
                                                                                   um payments.
                                 consideration in the, form of premi:
                                                                                                                                     velocity wind
                                                     e Iiis ure d I'rnaus  es  we     re sei iou sly datnaged by, aii extremely high
                                         21_      Th
                                                                                                                              moisture iiifiltration..
                                              rm ~co rnf ,ro mis ing Yla inti ft,'' s roo fixfg system, and- siding,.allowing
                                 and hai:l sto
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                                                                                                                    leted               an estimate
                                                                a cla im wi th In su rer . '- William Crriffin comp
                         22.            Plaintiff timely -filed
                                                                                          Insurer.
                                                  Loss were submitted to
               and it and the Proof of                                                                                                       trigger the
                                                                    nditions precedent, pu                      rsuant to the Policy, that
       )
                          23.           Pl aintiff completed all co

                   Insurer's duty to pay.                                                                        icantly
                                                                     er e wa s co ve red wi nd damage but signif
                                                               ts th
                             24.         Insurer at least admd

                   undervalued the ioss.
                                                                                 ount of the loss, whxch                   is a material breach of the
                             25.          Insurer     refuses to pay the true am

                    agreement.
                                                                                                           imate                cause of Policyholder
                                                                                   y is the cause and prox
                              26.          Insure     r's failure in its duty to pa
                                                                                                                                   s.
                                                       from water infiltrat                             ion to the Insured Premise
                     and a   injuries including damage
                                                                                                                 MAGES
                                                                       2.           COMPIENSATORX DA

                                                                         es paragraphs 1-26                      by reference as if verbatim:
                                  27.        Plaintiff.hereby incorporat
                                                                                                                           s.
                                                                                          of Compensatory Damage
                                  28.        Plaintiff prays for an award
                                                                                                                                                    licy of
                              1
                              ≥                                         Insurer failed to perfo                       rm on the contract and Po
                                  29.        Plaintiff was injured when
                                                                                                                                  ge
                                                                        lic yh old  er an  d  as sig ne e suffered continued dama
                                                  ance came due. Po
                      Insurance when perform
                                                      e ~nsured Pxemises.
               `      froni wat6r infiltr.ation to th
                                                                                                                     ole.
                                                              to c© mp en sa tor y da ma  ges to be restored as wh
                              30.      Plaintiff is entit led

                                                            VT.     PRAYF.R FOR RELIEF
                                                                                                                           s that the
                                                               ES   CO  NS  ID ER   ED  ,   Pl aintiff respectfully pray
                                                            IS
                               WHEItEFORE, PIrEM                                                                                gment
                                                                       mp  lai nt,  an d  th at th e Plaintiff be awarded a jud
                                                      answer this Co
                        Defendant be required to
                                                                       r the following:
                        'against the Defendant fo
                       Plaintiff prays for compensatory damages in an amount not to exceed

       $1,500,000.00;

               2.      Plaintiff prays for attorney's fees, if applicable, and costs of this court; and,
 :;.
               3.       Plaintiff prays for such other and further relief as this court may deem proper and

 '     in the interest of justice.
~:..
                                               Respectfially su.b:nittpd this the A— day of iT4 -          022.




                                                                       Gamm
                                                                       Toby ill

       Toby Gammill (BPR#025225)
       GAMMILL LAW GROUP, PLLC
       1911 Dunbarton Drive
       Jackson, Mississippi 39216
       Tel:    (601) 487-2300
       Fax:    (601) 420-2426
       Email: tob~r'~gammill-law.com
     Department of
     Commerce &                                          '' "                                         US P®STAGE°•°Prmeveowes
                                                CERTIFIED MAIV                                                 o      ~---~
~.Insurance
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     Service of Process
                                                                                 ~                    ZIP 37243
     500 James Robertson Parkway                                                                      02 4W    ~ ®®7e~ e~ 0
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     Nashville, Tennessee 37243                                                  LL                   0000369239APR 18. 2022




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                                      i 020 12.90 0001 6217 7559
                                      NORTHFIELD INS. CO.
                                      2i)08 POSTON AUE C:/O c S C
                                      NASHVILLE, TN 37203




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